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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,


v.                                     ORDER
                                       Criminal File No. 05-282 (MJD/JJG)

(1) CHRISTOPHER WILLIAM SMITH
a/k/a “Chris Jonson,” a/k/a “Tony Spitalie,”
a/k/a “Bruce Jonson,” a/k/a “Robert Jonson,”

(3) BRUCE JORDAN LIEBERMAN,

(4) DANIEL SPIVEY ADKINS, and

(5) DARRELL ARDEN GRIEPP,
a/k/a “Darrell Green,”

               Defendants.
________________________________________________________________

      In accordance with the Court’s oral rulings on October 10, 2006, IT IS

HEREBY ORDERED:

      1.    The Probation Office shall provide the Government and Defendants
            Christopher William Smith, Bruce Jordan Lieberman, Daniel Spivey
            Adkins, and Darrell Arden Griepp with the Presentence Investigation
            Reports for the following persons: Bernardette Kay Hollis (Crim. No.
            06-274(1)); Philip Mach (Crim. Nos. 05-282(2) and 06-302(1));
            Ronald Lee Miller (Crim. No. 05-316(1)); and Alton Scott Poe (Crim.
            No. 06-39(1)). If the Presentence Investigation Report is not
            currently completed for any of the named persons, the Probation
            Office shall provide the Government and Defendants with the
            criminal record checks and Probation Office interviews, if they have

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            been completed.

      2.    Defendants’ motion to exclude mention of the following Rule 404(b)
            evidence during the Government’s opening statement is DENIED:
            Defendants’ activities in the Dominican Republic, money laundering
            during the summer and fall of 2005, and the wrongful death action
            against Fallbrook Pharmacy.

      3.    The Court will take under advisement Defendants’ motion to exclude
            mention of Defendant Smith’s alleged threat against a Government
            witness. At the close of the Government’s case, the Court will hold a
            hearing on the admissibility of this evidence.

      4.    The Government’s motion to sequester the witnesses is GRANTED.




Dated: October 10, 2006                      s / Michael J. Davis
                                             Judge Michael J. Davis
                                             United States District Court




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